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                         UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION




 Hangzhou Chic Intelligent Technology Co.
         and Unicorn Global Inc.,

                Plaintiffs
                                                  Case No.: 20-cv-04806
                    v.                          Judge Thomas M. Durkin

       THE PARTNERSHIPS AND                   Magistrate Judge Jeffery Cole
 UNINCORPORATED ASSOCIATIONS
    IDENTIFIED ON SCHEDULE A,

               Defendants.




                   EXPERT DECLARATION OF PAUL HATCH
    REGARDING INFRINGEMENT OF U.S. PATENTS D737,723 and D738,256
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      INTRODUCTION
1.    I have been retained by counsel as an independent expert witness to provide my opinion
      regarding the above litigation matter, and matters related to the U.S. Patents D737,723, and
      D738,256 (“the Patents-In-Suit”). This Declaration is in support of Plaintiffs Hangzhou
      Chic Intelligent Technology Co. and Unicorn Global Inc.’s (collectively “Hangzhou”)
      motion for a preliminary injunction against Defendants The Partnerships And
      Unincorporated Associations Identified On Schedule A (“Gyroor”).
2.    Hangzhou requested that I opine on the similarities between the design claimed in each of
      the Patents-In-Suit and Defendant’s accused hoverboard products “Gyroor A”, “Gyroor C”
      and “Gyroor E” (“the Accused Products”).
3.    I understand my task is to review materials and offer my opinion, perspective and insights
      regarding this subject. I hold the opinions expressed in this declaration, but as my study of
      the case continues, I may acquire additional information that leads to new insights relevant
      to these opinions. With that in mind, I reserve the right to supplement this declaration if
      and when such additional information becomes known to me. I may also provide
      supplemental and rebuttal declarations in response to arguments which may be proposed
      by the Defendants.

      EXECUTIVE SUMMARY
4.    I have considered the appearance of the Accused Products and the claimed designs of each
      of the Patents-In-Suit (“the Claimed Designs”) and from the viewpoint of the ordinary
      observer who is familiar with the relevant prior art. Having performed this analysis and
      evaluation, it is my opinion that:
     The overall appearance of each of the Accused Products is not “plainly dissimilar” to one
      or more of the claimed designs of the Patents-In-Suit, as I understand that term to be
      understood in Patent Law.
     An ordinary observer familiar with the prior art, giving such attention as a purchaser
      usually gives, would find the overall appearance of the Accused Products to be
      substantially the same as the overall appearance of one or more of the Claimed Designs in



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      light of the prior art, inducing him or her to purchase the each of the Accused Products
      supposing it to be one or more of the Claimed Designs.

      SCOPE OF OPINIONS

A.    Background and Qualifications
 5.   I am the recently retired CEO of TEAMS Design USA, a global product design
      consultancy. I have over 25 years of product design and industrial design experience and
      have designed many mass-produced products, including consumer electronics, personal
      mobility equipment such as Segways, and electric bicycles. In my company, I was actively
      involved in all phases of the development process, including the user research, idea
      conceptualization, styling, visual brand language, development, engineering and
      overseeing the final production stages.
 6.   I reside at 718 S. Oakley Blvd, Chicago, Illinois. I hold a Bachelor of Arts degree with
      honors (BA (Hons)) in Design for Industry (Industrial Design) from the University of
      Northumbria at Newcastle, United Kingdom. While studying to obtain my honors degree
      in Industrial Design, I took courses covering subjects including technical drawing,
      computer aided drawing, product styling and brand language, ergonomics, product
      evaluation, usability testing, production techniques, prototyping, mechanical engineering,
      and production techniques.
 7.   In the course of my work as a designer and managing teams of designers, I have gained an
      understanding of the training, knowledge, skills, and abilities of a person skilled in the art
      of product design and industrial design. Through this work, I have also gained an
      understanding of how a person who purchases a particular product perceives and
      appreciates the visual appearance and or functional merits of a product’s design, and I use
      this understanding to opine on how the purchaser or ordinary observer would answer
      questions raised in the examination of design patents, utility patents, trademarks, and trade
      dress claims.
 8.   I am the named inventor in over 45 design and utility patents. I have written papers and
      spoken at many universities across the U.S. on the subject of visual perception, where I
      share information from psychological and neurological studies into how humans perceive


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       things such as physical products, what physical attributes we notice (if any), and how
       meaning is attached to what we see. I am currently teaching a graduate course on this
       subject matter at the University of Illinois at Chicago.
 9.    I was recently nominated into the prestigious IDSA Academy of Fellows. I have also been
       awarded many design awards, including the “Design of the Decade Award” from Business
       Week, and the IDEA “Juror’s Award” in 2020. In 2016 I was elected to the board of IDSA
       as Director-at-Large. Further information on my professional experience is detailed in my
       curriculum vitae, which is set forth in Appendix A. I have previously provided expert
       testimony in many other patent-related matters, a detailed list of cases for which I have
       provided expert testimony is attached as Appendix B.

B.     Compensation and Prior Testimony
 10.   I am being compensated at a rate of $450 per hour to provide analysis and testimony in this
       proceeding. My compensation is not contingent on the outcome of any matter or the
       specifics of my testimony. I have no financial interest in the outcome of this matter.

C.     Materials and Information Considered
 11.   In forming my opinions, I have reviewed the claimed design of the Patents-In-Suit; their
       file history; the prior art cited on the face of the patent; and the Accused Product. The list
       of materials I reviewed in my analysis is included in Appendix C.

       LEGAL STANDARDS
 12.   I am not a lawyer. Rather, I am an industrial designer and base my analysis on the legal
       guidelines provided to me as outlined below.

A.     The Limiting Purpose of a Design Patent
 13.   I understand that a U.S. patent does not grant the owner the right to use the invention,
       rather, the owner is granted the right, for a limited period of time, to prevent others from
       making, using, offering for sale, or selling the patented invention in the United States or
       importing the patented invention into the United States. In other words, the government
       grants the patent owner the right to limit other people’s use of the invention. To construe
       the scope of a design patent, I understand that one must also consider the prosecution


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       history of the patent application. See Goodyear Tire & Rubber Co. v. Hercules Tire &
       Rubber Co. Inc., 162 F.3d 1113, 1116 (Fed. Cir. 1998).

B.     Legal Principles in Analysis of Design Patent Infringement
 14.   It is my understanding that “[w]hether a design patent is infringed is determined by first
       construing the claim to the design, when appropriate, and then comparing it to the design
       of the accused device.” OddzOn Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1404 (Fed.
       Cir. 1997) (citing Elmer v. ICC Fabricating, Inc., 67 F.3d 1571, 1577 (Fed. Cir. 1995)).
 15.   I understand that, under precedent from the U.S. Court of Appeals for the Federal Circuit
       (“the Federal Circuit”), “trial courts have a duty to conduct claim construction in design
       patent cases, as in utility patent cases[.]” Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d
       665, 679 (Fed. Cir. 2008) (en banc). “[T]he court has recognized that design patents
       ‘typically are claimed as shown in drawings,’ and that claim construction ‘is adapted
       accordingly.’” Id. (quoting Arminak & Assocs., Inc. v. Saint-Gobain Calmar, Inc., 501 F.3d
       1314, 1319 (Fed. Cir. 2007)). Given the “difficulties entailed in trying to describe a design
       in words, the preferable course . . . [is] not to attempt to ‘construe’ a design patent claim
       by providing a detailed verbal description of the claimed design.” Egyptian Goddess, 543
       F.3d at 679.
 16.   As I understand, after a design patent’s claim is construed, the claim “must be compared
       to the accused design to determine whether there has been infringement.” Elmer, 67 F.3d
       at 1577. I understand that infringement occurs when an ordinary observer “giving such
       attention as a purchaser usually gives, [deems] two designs are substantially the same”
       meaning “the resemblance is such as to deceive such an observer, inducing him to purchase
       one supposing it to be the other.[]” Egyptian Goddess, 543 F.3d at 670 (quoting Gorham
       Co. v. White, 81 U.S. 511, 528 (1872)).
 17.   I am also aware that infringement is determined “in light of the prior art” by “applying the
       ordinary observer test through the eyes of an observer familiar with the prior art.” Egyptian
       Goddess, 543 F.3d at 677. Thus, the hypothetical ordinary observer is presumed to have a
       complete knowledge of all relevant prior art.
 18.   I understand that a design patent infringement analysis is a two-step process. The first step
       is to consider whether the Claimed Design and Accused Products are “sufficiently distinct”

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       also known as “plainly dissimilar.” Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d
       1312, 1335 (Fed. Cir. 2015) (citing Egyptian Goddess, 543 F. 3d at 678). If the Claimed
       Design and the Accused Products are found to be plainly dissimilar, there is no patent
       infringement. Id.
 19.   But, “if the claimed and accused designs are not plainly dissimilar,” I understand that the
       second step in an infringement analysis involves a three-way comparison to compare “the
       patented and accused designs in the context of similar designs found in the prior art.”
       Egyptian Goddess, 543 F.3d at 674. “[I]f the accused design has copied a particular feature
       of the claimed design that departs conspicuously from the prior art, the accused design is
       naturally more likely to be regarded as deceptively similar to the claimed design, and thus
       infringing.” Id. at 677.
 20.   As I understand, these “[d]ifferences, however, must be evaluated in the context of the
       Claimed Design as a whole, and not in the context of separate elements in isolation. Where,
       as here, the Claimed Design includes several elements, the fact finder must apply the
       ordinary observer test by comparing similarities in overall designs, not similarities of
       ornamental features in isolation.” Ethicon, 796 F.3d at 1335 (citing Richardson v. Stanley
       Works, Inc., 597 F.3d 1288, 1295 (Fed. Cir. 2010). See also Crocs, Inc. v. Int’l Trade
       Comm’n, 598 F.3d 1294, 1303-1304 (Fed. Cir. 2010). “[T]he mandated overall comparison
       is a comparison taking into account significant differences between the two designs, not
       minor or trivial differences that necessarily exist between any two designs that are not exact
       copies of one another.” Int'l Seaway Trading Co. v. Walgreens Corp., 589 F.3d 1233, 1243
       (Fed. Cir. 2009).
 21.   I understand that the fact that an infringing product is marked with a trademark or logo
       designating the product’s source does not, as a matter of law, negate design patent
       infringement. Design patent infringement relates solely to the patented design and does not
       allow of avoidance of infringement by labelling. L.A. Gear, Inc. v. Thom McAn Shoe Co.,
       988 F.2d 1117, 1126 (Fed. Cir. 1993).

C.     Claim Construction in Design Patents
 22.   It is my understanding that “[w]hether a design patent is infringed is determined by first
       construing the claim to the design, when appropriate, and then comparing it to the design

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      of the accused device.” OddzOn Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1404 (Fed.
      Cir. 1997) (emphasis added) (citing Elmer v. ICC Fabricating, Inc., 67 F.3d 1571, 1577
      (Fed. Cir. 1995)). To construe the scope of a design patent, I understand that one must
      consider whether the figures identify unclaimed subject matter (e.g., features depicted in
      broken lines); and whether the prosecution history of the application shows if the applicant
      disclaimed subject matter or distinguished the Claimed Design from other ornamental
      designs. See Goodyear Tire, 162 F.3d at 1116.
23.   As I understand, courts construe claims for a design patent just as for a utility patent.
      Goodyear Tire, 162 F.3d at 1116. That said, I understand that the Federal Circuit has
      cautioned against a detailed, verbal construction of the features in the patent drawings.
      Egyptian Goddess, 543 F.3d at 679. This is because a written claim construction focused
      on individual features may lead the factfinder away from “consideration of the design as a
      whole.” Crocs, 598 F.3d at 1303. However, while the claimed design of a design patent is
      better represented by an illustration, it is helpful to the finder of fact to be provided with
      guidance on the overall impression of the claimed design on the ordinary observer.
      Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d 1370, 1376 (Fed. Cir. 2002).
24.   To construe the scope of a design patent, I understand that one must consider (1) the
      language of the specification to determine whether the written description disclaims,
      characterizes, or limits any features; (2) whether the figures identify unclaimed subject
      matter (e.g., features depicted in broken lines); and (3) whether the prosecution history of
      the application shows if the applicant disclaimed subject matter or distinguished the
      Claimed Design from the prior art based on certain features present or absent in the
      graphics. See Goodyear Tire, 162 F.3d at 1116.
25.   I also understand that while the claimed design of a design patent is better represented by
      an illustration, it is helpful to the finder of fact to be provided with guidance on the overall
      impression of the claimed design on the ordinary observer. Contessa Food Prods., Inc. v.
      Conagra, Inc., 282 F.3d 1370, 1376 (Fed. Cir. 2002).
26.   I am also informed that the Manual of Patent Examining Procedure (“MPEP”) provides
      guidance on how broken lines are to be used in design patent drawings. U.S. Pat. &
      Trademark Office, Manual of Patent Examining Procedure § 1503.02 (9th ed. 2018).

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       Section 1503.02.III notes that broken lines include “[s]tructure that is not part of the
       claimed design but is considered necessary to show the environment in which the design
       is associated” and that structure “may be represented in the drawing by broken lines.” Id.
       Such unclaimed subject matter represented by broken lines forms no part of the claimed
       design.
 27.   I am also informed that “in analyzing infringement, the fact finder must compare the
       claimed portion of the design—i.e., whatever is shown in solid lines in the patent
       drawings—to the corresponding portion of the accused design.” (emphasis added) Sarah
       Burstein, The “Article of Manufacture” in 1887, 32:1 Berkeley Tech. L.J. 11 (2017) (first
       citing Hutzler Mfg. Co. v. Bradshaw Int’l, Inc., No. 1:11-cv-07211, 2012 WL 3031150, at
       *9–10 (S.D.N.Y. July 24, 2012); and then citing Egyptian Goddess. Inc. v. Swisa, Inc., 543
       F.3d 665, 672 (Fed. Cir. 2008)).

D.     The Ordinary Observer Test
 28.   I understand that a design patent infringement analysis is a two-step process. The first step,
       after a design patent’s claim is construed is to consider whether the claimed design and
       infringing products are “sufficiently distinct” also known as “plainly dissimilar.” Ethicon,
       796 F.3d at 1335 (citing Egyptian Goddess, 543 F. 3d at 678). If the Claimed Design and
       the infringing products are found to be plainly dissimilar, there is no patent infringement.
       Id.
 29.   I also understand that while the claimed design of a design patent is better represented by
       an illustration, it is helpful to the finder of fact to be provided with guidance on the overall
       impression of the claimed design on the ordinary observer. Contessa Food Prods., Inc. v.
       Conagra, Inc., 282 F.3d 1370, 1376 (Fed. Cir. 2002).
 30.   As I understand, “the fact finder must apply the ordinary observer test by comparing
       similarities in overall designs, not similarities of ornamental features in isolation,” Ethicon,
       796 F.3d at 1335 (citing Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1296 (Fed. Cir.
       2010)), and “not minor or trivial differences that necessarily exist between any two designs
       that are not exact copies of one another.” Int'l Seaway Trading Corp. v. Walgreens Corp.,
       589 F.3d 1233, 1243 (Fed. Cir. 2009) (emphasis added).



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 31.   But “if the claimed and accused designs are not plainly dissimilar,” I understand that the
       second step in an infringement analysis involves a three-way comparison to compare “the
       patented and accused designs in the context of similar designs found in the prior art.”
       Egyptian Goddess, 543 F.3d at 674. “If the accused design has copied a particular feature
       of the claimed design that departs conspicuously from the prior art, the accused design is
       naturally more likely to be regarded as deceptively similar to the claimed design, and thus
       infringing.” Id. at 677. .

E.     The Significance of Prior Art
 32.   As I understand, the role of prior art is to help the finder of fact consider seemingly small
       or minor details that differentiate the patented design from the prior art. “Where there are
       many examples of similar prior art designs . . ., differences between the claimed and
       accused designs that might not be noticeable in the abstract can become significant to the
       hypothetical ordinary observer who is conversant with the prior art.” Egyptian Goddess,
       543 F.3d at 678.
 33.   For the purposes of my opinion, I considered prior art to define the scope of the hoverboard
       market at the time the Claimed Designs were filed. In so doing, I was able to better discern
       the similarities and differences (or lack thereof) between the Claimed Designs and the
       Accused Products in the eyes of the ordinary observer.
 34.   I am informed that the Egyptian Goddess case makes clear, the ultimate burden of proving
       infringement is on the patent owner. Accordingly, the failure of the accused infringer to
       bring forward prior art is not an admission of infringement, but rather only a concession
       that knowledge of the prior art would not make infringement less likely. See Egyptian
       Goddess, 543 F.3d at 678-79.

F.     Definition of the Ordinary Observer
 35.   As I understand, “[t]he measure of infringement of a design patent is deception of the
       ordinary observer, when such person gives the design the attention usually given by a
       purchaser of the item bearing the design[.]” Goodyear Tire, 162 F.3d at 1117. Accordingly,
       I understand that the hypothetical ordinary observer must be identified before applying the
       ordinary observer test by focusing on the “actual product that is presented for purchase,
       and the ordinary purchaser of that product.” Id.
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36.   I understand that the hypothetical ordinary observer must be identified before applying the
      ordinary observer test by focusing on the actual product that is presented for purchase, and
      the ordinary purchaser of that product. The hypothetical ordinary observer is different for
      each case, based on the type of product at issue. The determination of the substantial
      similarity is based on the viewpoint of the ordinary observer who is “not an expert in the
      claimed designs” but rather one of ordinary acuteness who is a principal purchaser of the
      product. The hypothetical ordinary observer is also one who is aware of the number of
      closely similar prior art designs and conversant with the prior art.
37.   Further, I understand that some courts have held that the ordinary observer is one who is
      “not an expert in the claimed designs”, but rather “one of ordinary acuteness who is a
      principal purchaser[]” of the product. Ethicon, 796 F.3d at 1337 (internal quotations and
      citation omitted). That said, the ordinary observer is one who is “aware of the great number
      of closely similar prior art designs” and “conversant with the prior art”. Egyptian Goddess,
      543 F.3d at 676, 678.
38.   Further, I understand that the viewpoint of the hypothetical ordinary observer is through
      the “eyes of men generally” and not individuals “versed in designs in the particular trade
      in question” or “engaged in the manufacture or sale of articles containing such designs”.
      Gorham Co. v. White, 81 U.S. 511, 527-528 (1871). I am also informed that some courts
      have held that the ordinary observer is one who is “not an expert in the claimed designs”,
      but rather “one of ordinary acuteness who is a principal purchaser []” of the product.
      Ethicon, 796 F.3d at 1337 (emphasis added) (internal quotations and citation omitted).
39.   I am also informed that the “[l]ikelihood of confusion as to the source of the goods is not
      a necessary or appropriate factor for determining infringement of a design patent.” Unette
      Corp. v. Unit Pack Co.., 785 F.2d 1026, 1029 (Fed. Cir. 1986) (emphasis added).
40.   Based on my experience as an Industrial Designer of commercial products, including
      electronic mobility products and consumer electronics, it is my opinion that an ordinary
      observer in this case is the principal purchaser of hoverboards, i.e., a consumer user or the
      parent of a user, each having little or no experience purchasing hoverboards. The ordinary
      observer encounters products like the Claimed Designs via online stores, television and



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       entertainment media, and social media, and purchases them using online stores or from
       ‘brick and mortar’ stores like Best Buy or Walmart.

G.     Functionality in Design Patents
 41.   As was explained to me, to be afforded patent protection, “a design must present an
       aesthetically pleasing appearance that is not dictated by function alone.” Bonito Boats, Inc.
       v. Thunder Craft Boats, Inc., 489 U.S. 141, 148 (1989) (emphasis added). “[W]hether a
       design is primarily functional or primarily ornamental requires viewing the claimed design
       ‘in its entirety.’” Ethicon, 796 F.3d at 1329 (quoting L.A. Gear, Inc. v. Thom McAn Shoe
       Co., 977 F.2d 988, 1123 (Fed. Cr. 1993)). I further understand that to “entirely eliminate
       a structural element from the claimed ornamental design, even though that element also
       served a functional purpose” is not permitted. Sport Dimension, Inc. v. Coleman Co., 820
       F.3d 1316, 1321 (Fed. Cir. 2016).
 42.   To determine the scope of the claim, I understand that the court considers the distinction
       between features of the claimed design that are “ornamental” and those that are “purely
       functional.” Ethicon Endo-Surgery, 796 F.3d at 1333. I understand that a design element
       is “purely functional” where its basic design is “dictated” by its functional purpose or is
       otherwise serves a utilitarian purpose. Sport Dimension, 820 F.3d at 1320.              I also
       understand that several factors suggest that a feature is functional, including whether (1)
       the protected design represents the best design, (2) alternative designs would adversely
       affect the utility of the specified article, (3) there are any concomitant utility patents, (4)
       the advertising touts particular features of the design as having specific utility, and (5)
       whether the feature is clearly dictated by function. PHG Techs., LLC v. St. John Cos., 469
       F.3d 1361, 1366 (Fed. Cir. 2002).
 43.   It is well established that patent drawings do not define the precise proportions of the
       elements and may not be relied on to show particular sizes if the specification is completely
       silent on the issue. Hockerson-Halberstadt, Inc. v. Avia Grp. Int'l, Inc., 222 F.3d 951, 956
       (Fed. Cir. 2000) See also MPEP § 2125 “When the reference does not disclose that the
       drawings are to scale and is silent as to dimensions, arguments based on measurement of
       the drawing features are of little value.”



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       ANALYSIS OF THE PATENTS-IN-SUIT AND THE PRIOR ART

A.     The Patents-In-Suit
 44.   The Patents-In-Suit are the U.S. Patents D737,723 (“the D’723 Patent”), and the D738,256
       (“the D’256 Patent”), for Self-Balancing Vehicles. Such self-balancing vehicles are
       commonly referred to as “hoverboards”.
 45.   As mentioned above, the scope of the claim of a patented design encompasses its visual
       appearance as a whole, and in particular the visual impression it creates to the hypothetical
       ordinary observer.

B.     Examination of the D’723 Patent
 46.   The D’723 Patent is titled “Self-Balancing Vehicle” and has a filing date of Dec 15, 2014.
       It claims priority to a foreign application CN 201430180556.4 dated 6/13/2014.
 47.   The patent has 8 figures, and states “the broken line showing is for the purpose of
       illustrating portions of the self-balancing vehicle and environment structure which form no
       part of the claimed design”.



 Table 1: The Claimed Design of the D’723 Patent

 Fig.1 is a top plan view
 of a self-balancing
 vehicle showing our new
 design




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Fig.2 is a bottom plan
view thereof




Fig 3 is a rear elevational
view thereof




Fig. 4 is a front elevation
view thereof




Fig 5. Is a left side view
thereof, the right side
view being a mirror
image thereof.




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Fig.6 is a rear, top, right
perspective view thereof




Fig. 7 is a front, top, left
perspective view thereof




Fig 8 is a rear, bottom,
left perspective view
thereof




48.    What is claimed is the overall ornamental design of a Self-Balancing Vehicle as described
       in the patent and shown in the figures. The claimed design does not include the areas
       shown in broken lines, such as the wheels, the holes on the underside, the “O I” pattern,
       and the on/off graphics.
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 49.   I have reviewed the prosecution history of the D’723 Patent, and it consistent with my
       opinion of the claim scope. The claimed design was allowed over all the prior art that was
       cited in the file history.

C.     Examination of the D’256 Patent
 50.   The D’256 Patent is also titled “Self Balancing Vehicle” and has a filing date of Dec 15,
       2014. The patent has 8 figures, and states “the broken line showing is for the purpose of
       illustrating portions of the self-balancing vehicle and environment structure which form no
       part of the claimed design”.
Table 2: The Claimed Design of the D’256 Patent

Fig.1 is a top plan view of a
self-balancing vehicle
showing our new design




Fig.2 is a bottom plan view
thereof




Fig 3 is a rear elevational
view thereof




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Fig. 4 is a front elevation
view thereof




Fig 5. Is a left side view
thereof, the right side view
being a mirror image thereof




Fig.6 is a rear, top, right
perspective view thereof




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Fig. 7 is a front, top, left
perspective view thereof




Fig 8 is a rear, bottom, left
perspective view thereof




 51. What is claimed is the overall ornamental design of a Self-Balancing Vehicle as described
       in the patent and shown in the figures. The claimed design does not include the areas
       shown in broken lines, such as the wheels, holes on the underside, and the “O I” pattern.
 52. I have reviewed the prosecution history of the D’256 Patent, and it consistent with my
       opinion of the claim scope. The claimed design was allowed over all the prior art that was
       cited in the file history.

D.     The Cited Prior Art Show The Patents-In-Suit Have A Broad Scope
 53. Prior art is used to compare to the claimed design of a patent to find the scope of the design
       in the ordinary observer test. It is also used to compare the Accused Products to the claimed
       designs to evaluate if the Accused Products is closer to the claimed design than the prior
       art.
 54. I have analyzed all the cited prior art of the Patents-In-Suit. Below I present one selected
       view from each of the cited prior art to provide an overview of the state-of-the-art at the
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           time of the filing of each patent. As can be seen in the table below, the D’723 and the D’256
           cited the same prior art.
    Table 3: The Cited Prior Art Cited on the Face of the D’723 and D’256 Patents




             US 8,118,319                           US 8,469,376                            US 8,414,000




                  Appl.
             2007-0273118                           US 8,500,145                            US D647,991




                                  US D739,9061

    55.    While some of the individual components of the D’723 and D’256 Patents are represented
           in some of the prior art, the overall impression of the claimed design of the D’723 and
           D’256 Patents is entirely unique. The prior art is vastly different in many ways and
           therefore the D’723 and D’256 Patents enjoy a very broad scope.
    56.    Some of the prior art feature a generally hourglass outer form. However, none of the
           relevant prior art create the visual impression of an integrated hourglass body with a



1
    The US Patent D739,906 was not cited on the face of either the ‘723 or ‘256 Patents but I understand that its filing
date slightly preceded that of these patents and is therefore part of my analysis.

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           relatively flat surface across the top of the main body, pronounced ‘footing’ areas, and
           open-arched fenders over the top of the wheel area.

           ANALYSIS OF FUNCTIONALITY
    57.    I understand that several factors may suggest that a feature is primarily functional,
           including       whether      the     protected         design     represents       the      best     design,
           and whether alternative designs would adversely affect the utility of the specified article.2
    58.    The Claimed Designs feature many ornamental elements that contribute to the overall
           impression. Here I will briefly describe the analysis of three visually dominant elements of
           the overall visual impression to analyze whether they could have been designed with
           substantially different ornamentation and still provide the same functionality.
    59.    First, in looking at the overall ‘hour glass’ shape of the main body, we need look no further
           than the prior art to find alternative ways to provide similar or the same functionality of
           providing adequate space for footing and allow for a central pivoting motion. Importantly,
           these alternative ornamental designs have distinctly different ornamental designs from the
           Claimed Designs.




2
    The Federal Circuit listed a number of considerations for assessing whether a patented design as a whole was
dictated by functional considerations such as: “Whether the protected design represents the best design; whether
alternative designs would adversely affect the utility of the specified article; whether there are any concomitant
utility patents; whether the advertising touts particular features of the design as having specific utility and whether
there are any elements in the design or an overall appearance clearly not dictated by function.” Berry Sterling Corp.
v. Pescor Plastics, Inc., 122 F.3d 1452, 1456 (Fed. Cir. 1997).

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Table 4: The prior art provides alternative ornamental examples for the same utility.




                        US 8,469,376                           These prior art provide the
                                                               same spacing for feet but
                                                               create distinctly different
                                                               visual impressions from
                                                               that of the Patents-in-Suit.

                                                               They also provide a
                                                               similarly pivoting center
                                                               that creates distinctly
                                                               different visual
                                                               impressions from that of
                        US 6,834,867
                                                               the Patents-in-Suit.




                    Appl. 2007-0273118




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60.   Second, the fenders of the Claimed Designs may prevent accidentally access to the top of
      the wheel, for which alternative ornamental designs are also found within the prior art (see
      table below).
61.   Third, the pronounced footing areas may communicate where to position feet, and
      possibly provide grip, and alternative ornamental designs for these same functions are also
      found within the prior art.
 Table 5: The prior art provides alternative ornamental examples for the same fender
 and footing area utility.
                                                                  These prior art provide the
                                                                  same utility of the fenders of
                                                                  the Patents-In-Suit but create
                                                                  distinctly different visual
                                                                  impressions.

         US D739,906                      US D647,991
                                                                  These prior art provide the
                                                                  same utility of the
                                                                  pronounced footing areas
                                                                  of the Patents-In-Suit but
                                                                  create distinctly different
                                                                  visual impressions.

         US 8,118,319                 Appl. 2007-0273118
62.   I have examined not only the three examples above but also other, less visually dominant
      parts of the ornamental design. Based on my analysis of the overall outer shape and other
      main elements of the Claimed Designs, it is clear that the same functionality can be
      achieved with distinctly different ornamental designs. Although the above outlined
      analysis demonstrates only part of the Berry Sterling considerations, this finding is
      sufficient for me to opine that none of the ornamental designs claimed in the Patents-In-
      Suit are dictated by function, or otherwise purely functional.



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      OVERVIEW OF THE ACCUSED PRODUCTS
63.   As noted above, there are three products accused of infringement in this case, the ‘Gyroor
      A’, ‘C’ and ‘E’.
64.   Each of the Accused Products creates the visual impression to the hypothetical ordinary
      observer of an integrated hourglass body with a relatively flat surface across the top of the
      main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
      area.
65.   While they are not exact duplicates, each of the Accused Products and each of the Claimed
      Designs share very similar visual traits in their format, proportions and main visual
      features, and share the same overall impression to the ordinary observer in light of the prior
      art.
Table 6: Accused Product Gyroor A




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Table 7: Accused Product Gyroor C




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Table 8: Accused Product Gyroor E




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      THE ACCUSED PRODUCTS INFRINGES THE PATENTS-IN-SUIT
66.   I conducted a side-by-side comparison of the Accused Products and the Claimed Designs.
      My analysis was limited to the Claimed Designs as depicted by the solid lines in the figures
      of the Patents-In-Suit and did not include the unclaimed portions of the design depicted in
      broken lines.

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 67.   The Accused Products and the claimed designs of the Patents-In-Suit are both conceptually
       and functionally identical in that they are all hoverboards, for recreational use by
       consumers.
 68.   As mentioned above, the scope of the claim of a patented design encompasses its visual
       appearance as a whole, and in particular the ‘visual impression’ it creates. Even if various
       ornamental elements which make up the whole of a design may be slightly different in
       isolation, infringement occurs if the overall visual impression is substantially similar.
 69.   In my analysis detailed below I conclude that each of the Accused Products is not plainly
       dissimilar to the Claimed Designs
 70.   As an additional step, I also analyzed the patents’ cited prior art against the Accused
       Products and Patented Designs to find whether the Accused Designs are closer to the
       Patented Designs than the closest prior art. As it is the burden of the defendant to identify
       the closest prior art, I conducted a three-way comparison using the D‘906 Patent as both
       of Defendants’ experts in this case have cited this to be the closest prior art.
 71.   My analysis was conducted by comparing the visual impression of each Accused Product
       and each of the Claimed Designs to the D’906 Patent, through the eyes of an ordinary
       observer. Specifically, the ordinary observer test inquires whether the visual impression of
       an Accused Product is closer to the claimed design of a patent than to the prior art. In my
       analysis I find the visual impression created by each of the Accused Products is closer to
       each of the Claimed Designs than it is to the prior art. The Accused Products are therefore
       substantially the same as each of the Claimed Designs in the eyes of the ordinary observer
       as I will outline below.

A.     The Accused Product Gyroor A Infringes on the D‘723 Patent
 72.   Although the below chart only presents selected views, my analysis was undertaken by
       comparing the actual product to each of the patented designs as a whole. The full
       comparison to all of the figures of the D‘723 are shown in Exhibit 1.




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   Table 9: Three-way comparison of Gyroor A to the D‘906 Patent and the claimed
   design of the D’723.
                                                            FIG. 6 of the ’D723 patent




                                                            Perspective view of
                                                            Gyroor A




                                                            FIG. 4 of the prior
                                                            art ’D906 Patent




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                                                                      Figure 1 of the D’723
                                                                      Patent




                                                                      Top view of Gyroor A




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




73.   Giving due consideration to the legal standards as outlined in Section IV, the examination
      illustrated in the table above allows for no other reasonable conclusion than that the overall
      visual impression of the claimed design of the D‘723 Patent and Gyroor A are not plainly
      dissimilar.
74.   Further, when comparing to the closest prior art through the eyes of the ordinary observer,
      Gyroor A is closer in overall impression to the claimed design of the D‘723 Patent
      than to the closest prior art. Specifically, Gyroor A and the claimed design of the D‘723
      Patent both create a visual impression of an integrated hourglass body with a relatively flat
      surface across the top of the main body, pronounced ‘footing’ areas, and open-arched
      fenders over the top of the wheel area. While the D’906 also includes an hourglass body,
      the design as a whole gives a distinctly different impression, as it creates an impression of



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           a very uncluttered, rounded, smooth body with no pronounced footing area and closed
           fender skirts3.
    75.    Therefore, in light of the closest prior art, the claimed design of the D‘723 is substantially
           the same as the visual impression presented by Gyroor A.

B.         The Accused Product Gyroor A Infringes on the D‘256 Patent
    76.    Although the below chart only presents selected views, my analysis was undertaken by
           comparing the actual product to each of the patented designs as a whole. The full
           comparison to all of the figures of the D‘256 are shown in Exhibit 1.
        Table 10: Three-way comparison of the Gyroor A to the D’906 Patent and the
        claimed design of the D’256.
                                                                                      FIG. 6 of the D’256 patent




                                                                                      Perspective view of
                                                                                      Gyroor A




3
    Fender skirt’ is a term used by the automobile industry when the wheel is almost entirely hidden, as seen in 1969
Buick Electra and the 1986 Citroen CX.

                                                           30
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                                                                      FIG. 4 of the prior
                                                                      art ’D906 Patent




                                                                      Figure 1 of the D’256
                                                                      Patent




                                                                      Top view of Gyroor A




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




77.   Giving due consideration to the legal standards as outlined in Section IV, the examination
      illustrated in the table above allows for no other reasonable conclusion than that the overall
      visual impression of the claimed design of the D‘256 Patent and Gyroor A are not plainly
      dissimilar.
78.   Further, when comparing to the closest prior art through the eyes of the ordinary observer,
      Gyroor A is closer in overall impression to the claimed design of the D‘256 Patent
      than to the closest prior art. Specifically, Gyroor A and the claimed design of the D‘256
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       Patent both create a visual impression of an integrated hourglass body with a relatively flat
       surface across the top of the main body, pronounced ‘footing’ areas, and open-arched
       fenders over the top of the wheel area. While the D’906 also includes an hourglass body,
       the design as a whole gives a distinctly different impression, as it creates an impression of
       a very uncluttered, rounded, smooth body with no pronounced footing area and closed
       fender skirts.
 79.   Therefore, in light of the closest prior art, the claimed design of the D‘256 is substantially
       the same as the visual impression presented by Gyroor A.

C.     The Accused Product Gyroor C Infringes on the D‘723 Patent
 80.   Although the below chart only presents selected views, my analysis was undertaken by
       comparing the actual product to each of the patented designs as a whole. The full
       comparison to all of the figures of the D‘723 are shown in Exhibit 1.
     Table 11: Three-way comparison of Gyroor C to the D‘906 Patent and the claimed
     design of the D’723.
                                                                       FIG. 6 of the ’D723 patent




                                                                       Perspective view of
                                                                       Gyroor C




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                                                                      FIG. 4 of the prior
                                                                      art ’D906 Patent




                                                                      Figure 1 of the D’723
                                                                      Patent




                                                                      Top view of Gyroor C




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




81.   Giving due consideration to the legal standards as outlined in Section IV, the examination
      illustrated in the table above allows for no other reasonable conclusion than that the overall
      visual impression of the claimed design of the D‘723 Patent and Gyroor C are not plainly
      dissimilar.


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 82.   Further, when comparing to the closest prior art through the eyes of the ordinary observer,
       Gyroor C is closer in overall impression to the claimed design of the D‘723 Patent
       than to the closest prior art. Specifically, Gyroor C and the claimed design of the D‘723
       Patent both create a visual impression of an integrated hourglass body with a relatively flat
       surface across the top of the main body, pronounced ‘footing’ areas, and open-arched
       fenders over the top of the wheel area. While the D’906 also includes an hourglass body,
       the design as a whole gives a distinctly different impression, as it creates an impression of
       a very uncluttered, rounded, smooth body with no pronounced footing area and closed
       fender skirts.
 83.   Therefore, in light of the closest prior art, the claimed design of the D‘723 is substantially
       the same as the visual impression presented by Gyroor C.

D.     The Accused Product Gyroor C Infringes on the D‘256 Patent
 84.   Although the below chart only presents selected views, my analysis was undertaken by
       comparing the actual product to each of the patented designs as a whole. The full
       comparison to all of the figures of the D‘256 are shown in Exhibit 1.
     Table 12: Three-way comparison of the Gyroor C to the D’906 Patent and the
     claimed design of the D’256.
                                                                       FIG. 6 of the D’256 patent




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                                                         Perspective view of
                                                         Gyroor C




                                                         FIG. 4 of the prior
                                                         art ’D906 Patent




                                                         Figure 1 of the D’256
                                                         Patent




                                                         Top view of Gyroor C




                                                         Figure 3 of the prior art
                                                         D‘906 Patent.




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 85.   Giving due consideration to the legal standards as outlined in Section IV, the examination
       illustrated in the table above allows for no other reasonable conclusion than that the overall
       visual impression of the claimed design of the D‘256 Patent and Gyroor C are not plainly
       dissimilar.
 86.   Further, when comparing to the closest prior art through the eyes of the ordinary observer,
       Gyroor C is closer in overall impression to the claimed design of the D‘256 Patent
       than to the closest prior art. Specifically, Gyroor C and the claimed design of the D‘256
       Patent both create a visual impression of an integrated hourglass body with a relatively flat
       surface across the top of the main body, pronounced ‘footing’ areas, and open-arched
       fenders over the top of the wheel area. While the D’906 also includes an hourglass body,
       the design as a whole gives a distinctly different impression, as it creates an impression of
       a very uncluttered, rounded, smooth body with no pronounced footing area and closed
       fender skirts.
 87.   Therefore, in light of the closest prior art, the claimed design of the D‘256 is substantially
       the same as the visual impression presented by Gyroor C.

E.     The Accused Product Gyroor E Infringes on the D‘723 Patent
 88.   Although the below chart only presents selected views, my analysis was undertaken by
       comparing the actual product to each of the patented designs as a whole. The full
       comparison to all of the figures of the D‘723 are shown in Exhibit 1.
     Table 13: Three-way comparison of Gyroor E to the D‘906 Patent and the claimed
     design of the D’723.
                                                                       FIG. 6 of the ’D723 patent




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                                                         Perspective view of
                                                         Gyroor E




                                                         FIG. 4 of the prior
                                                         art ’D906 Patent




                                                         Figure 1 of the D’723
                                                         Patent




                                                         Top view of Gyroor E




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                                                                       Figure 3 of the prior art
                                                                       D‘906 Patent.




 89.   Giving due consideration to the legal standards as outlined in Section IV, the examination
       illustrated in the table above allows for no other reasonable conclusion than that the overall
       visual impression of the claimed design of the D‘723 Patent and the Accused Products are
       not plainly dissimilar.
 90.   Further, when comparing to the closest prior art through the eyes of the ordinary observer,
       Gyroor E is closer in overall impression to the claimed design of the D‘723 Patent
       than to the closest prior art. Specifically, Gyroor E and the claimed design of the D‘723
       Patent both create a visual impression of an integrated hourglass body with a relatively flat
       surface across the top of the main body, pronounced ‘footing’ areas, and open-arched
       fenders over the top of the wheel area. While the D’906 also includes an hourglass body,
       the design as a whole gives a distinctly different impression, as it creates an impression of
       a very uncluttered, rounded, smooth body with no pronounced footing area and closed
       fender skirts.
 91.   Therefore, in light of the closest prior art, the claimed design of the D‘723 is substantially
       the same as the visual impression presented by Gyroor E.

F.     The Accused Product Gyroor E Infringes on the D‘256 Patent
 92.   Although the below chart only presents selected views, my analysis was undertaken by
       comparing the actual product to each of the patented designs as a whole. The full
       comparison to all of the figures of the D‘256 are shown in Exhibit 1.




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   Table 14: Three-way comparison of the Gyroor E to the D’906 Patent and the
   claimed design of the D’256.
                                                            FIG. 6 of the D’256 patent




                                                            Perspective view of
                                                            Gyroor E




                                                            FIG. 4 of the prior
                                                            art ’D906 Patent




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                                                                      Figure 1 of the D’256
                                                                      Patent




                                                                      Top view of Gyroor E




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




93.   Giving due consideration to the legal standards as outlined in Section IV, the examination
      illustrated in the table above allows for no other reasonable conclusion than that the overall
      visual impression of the claimed design of the D‘256 Patent and the Accused Products are
      not plainly dissimilar.
94.   Further, when comparing to the closest prior art through the eyes of the ordinary observer,
      Gyroor E is closer in overall impression to the claimed design of the D‘256 Patent
      than to the closest prior art. Specifically, Gyroor E and the claimed design of the D‘256
      Patent both create a visual impression of an integrated hourglass body with a relatively flat
      surface across the top of the main body, pronounced ‘footing’ areas, and open-arched
      fenders over the top of the wheel area. While the D’906 also includes an hourglass body,
      the design as a whole gives a distinctly different impression, as it creates an impression of
      a very uncluttered, rounded, smooth body with no pronounced footing area and closed
      fender skirts.
95.   Therefore, in light of the closest prior art, the claimed design of the D‘256 is substantially
      the same as the visual impression presented by Gyroor E.

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      CONCLUSION
96.   Based upon the application of the legal principles described in this declaration, and upon
      my examination, analysis and comparisons of the Patents-In-Suit, their file histories, the
      prior art, and the Accused Products, it is my opinion that:
      -   Gyroor A is not plainly dissimilar to the claimed design of the ‘723 Patent and is
          substantially the same as the claimed design of the ‘723 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor A is not plainly dissimilar to the claimed design of the ‘256 Patent and is
          substantially the same as the claimed design of the ‘256 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor C is not plainly dissimilar to the claimed design of the ‘723 Patent and is
          substantially the same as the claimed design of the ‘723 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor C is not plainly dissimilar to the claimed design of the ‘256 Patent and is
          substantially the same as the claimed design of the ‘256 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor E is not plainly dissimilar to the claimed design of the ‘723 Patent and is
          substantially the same as the claimed design of the ‘723 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor E is not plainly dissimilar to the claimed design of the ‘256 Patent and is
          substantially the same as the claimed design of the ‘256 Patent in the eyes of the
          ordinary observer in light of the prior art.
97.   Therefore, an ordinary observer familiar with the prior art, giving such attention as a
      purchaser usually gives would find the overall appearance of each of the Accused Products
      to be substantially the same as the overall appearance of one or more of the claimed designs
      of the Patents-In-Suit in light of the prior art, inducing him or her to purchase the Accused
      Products supposing it to be the Claimed Design.




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       RESERVATION OF RIGHTS
 98.   My current opinions are set forth in this Declaration. However, my analysis is continuing,
       and I thus reserve the right to supplement or amend my Declaration and to rely on
       additional documents, prior art, or discovery or testimony that may come to my attention.
 99.   Moreover, I may make additions, deletions, or modifications to this Declaration and my
       opinions in the future that would be reflected in my testimony at the trial and/or additional
       Declarations that I may be asked to submit in this case. I also reserve the right to rely on
       all other expert Declarations submitted in this case. For the forthcoming trial, I may prepare
       diagrams, charts, other demonstratives, and/or demonstrations that illustrate the issues
       presented. I reserve the right to respond to additional arguments or analyses proffered by
       expert witnesses and/or the Defendant, and I understand that I may be asked to give rebuttal
       testimony on matters not covered in this expert Declaration.



I declare under penalty of perjury that the foregoing is true and correct.

Dated: Nov 8, 2022

Respectfully Submitted,




____________________________

Paul Hatch




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Appendix A

RESUME OF PAUL HATCH – August 2022

Professional Design Experience:

Oct 1998 – July 2020
CEO, TEAMS Design USA, Inc

May 2014 - 2018
Co-Founder, Design House LLC (Non-profit organization)

April 1993 - Oct 1998
Senior Designer, TEAMS Design GmbH, Germany.

Sept 1991- Sept 1992
Junior Industrial Designer, IDEA Design, Germany

July 1991 – Sept 1991
Junior Industrial Designer, Schroerdesign, Germany

June 1990 – Sept 1990
Junior Industrial Designer, DA Display Ltd, UK


Education:

Ph.D. in Learning Sciences at University of Illinois, Chicago (current).

BA (Hons) Degree ‘Design For Industry’ from University of Northumbria at Newcastle, Newcastle-upon-Tyne,
UK.

Diploma in General Art & Design, Sutton Coldfield College of Further Education, Sutton Coldfield, West
Midlands, UK.


Books Published
"REALIZE - Design Means Business" (Portuguese translation), 2009
"REALIZE - Design Means Business" (Chinese translation), 2008
“REALIZE – Design Means Business” (US original. Co-editor and contributor), 2006
“IMPACT, the Synergy of Technology, Business and Design” (Co-editor and contributor), 2005


Published Articles and Papers:
Innovation Magazine: “Immersive Design: What The Metaverse Means For Industrial Design”, April 2022
Innovation Magazine: “Design Is Dead, Long Live Design”, June 2018
LinkedIn Pulse: “Disruptive Innovation …For Stability”, May 2017
Innovation Magazine: “The State of Design – Maintaining a Proper Vision”, Summer 2016
LinkedIn Pulse: “Getting Emotional – Design, UX and Magic” – Sept 2016
LinkedIn Pulse: “The Local Revolution –How Design is Reinventing Manufacture”, Mar 2016
LinkedIn Pulse: “Design Thinking Is Only Half The Story”, Jan 2016
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LinkedIn Pulse: “The Macintosh Moment –Why IoT Needs ID, UX and Design Thinking” Feb 2016
LinkedIn Pulse: “User Experience – Fun For All The Family”, Dec 2015
Innovation magazine: “To Design Is Human”, Spring 2013
Innovation magazine: “Finding The Sweet Spot”, Spring 2010
Insight magazine: “Profit, By Design”, April 2005
Innovation magazine “Designer In The Middle”, Spring 2004
Innovation magazine: “How To Avert The Asian Shift”, Fall 2004
International Housewares Association Magazine: “Brand Differentiation Through Design Details”, Feb 2003


Television, Book and Magazine Interviews
(Book) “Extended Reality: The Next Frontier of Design”. Ralf O Schneider, April 2021
PRISM Podcast: "The Changing World of Design with Paul Hatch", April, 2021
Learning Sciences Research Institute – “Seeing A Way To Help”, Sept 2020
DesignDrives Podcast – “Paul Hatch – Driving Innovation in Connected AI Products”, March 2020
Apple podcast “Context” – “Interview with Paul Hatch” , July 2019
Appliance Design Magazine: “The Internet of Things and The Pampered User”, March 2019
Appliance Design Magazine: “Connected Product Design”, July 2018
Appliance Design Magazine: ”Paul Hatch Discusses the Intersection of Quality Data and a Better User
Experience, April 2018
Bosch Connected World: “Industrial Design in the Age of IOT”, Feb 2018
Child Art /Learning From Design: “Paul Hatch” , Fall 2016
Pittsburgh Technology Council (site): “It’s All In The Jam!”, Feb 2016
Chicago Tribune: “How A Group of Chicago Product Designers Aims to Boost Manufacturing”, June 30 2014
IDSA site: “Paul Hatch on The Changing Mechanics of the Design Business”, June 2014
(Book) “Breaking In” by Amina Horozic, May 2014
(Book) “Drawing For Product Designers” by Kevin Henry, Sept 2012
Taiwan “Designer” Magazine: “Teams Design To Success in Past 50 Years”, Dec 2011
IDSA site: “What Paul Hatch Thinks About Contrast”, Mar 2011
New York Daily News: “From 0 to 60 in the Kitchen”, June 2009
(Television) “190 North”, June 2006
Appliance Design Magazine: “IATC Review: Taking A World View”, May 2006
Appliance Design Magazine: “Industrial Design and Human Factors”, March 2004
(Television) “World Business Review with Alexander Haig”, May 2003




Conference Presentations, Proceedings and Invited Lectures:
Invited Speaker: Design & Cognitive Psychology – SCAD, Georgia, Sept 2020
Invited Speaker: Design & Cognitive Psychology – UIC Chicago, Mar 2020
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Keynote Speaker: UX and IOT – Newell Congress Chicago, July 2018
Invited Speaker: Connecting the Smart Home to the Homeowner – International Housewares Show, Jan
2018
Invited Panelist: Intellectual Property and Design Rights – 13th Annual Foley IP Conference, Sept 2017
Keynote Speaker: Naked Design and Visual Perception – North Carolina State University, Nov 2017
Keynote Speaker: Communicate or Die – UIUC, Dec 2016
Keynote Speaker: The World Class Designer – Newell Summit, Kalamazoo, Oct 2016
Invited Speaker: IOT and The Macintosh Moment –Connected World Conference, Sept 2016
Keynote Speaker: Talking Loud & Clear- CSULB San Francisco, Aug 2016
Invited Speaker: UX and IOT – Windy City Things, June 2016
Keynote Speaker: Design For Local – IDSA International Conference, Atlanta, Aug 2016
Keynote Speaker: Design Like an ID-IOT – Manifest, Chicago, May 2016
Keynote Speaker: UX and the ID-IOT – IDSA Western District Conference, Denver, March 2016
Invited Speaker: Brand Personalities – DMI National Conference, Boston, Sept 2015
Keynote Speaker: Design For Local – PD+I Conference, London, May 2015
Keynote Speaker: Paul Hatch and the Evolution Of Consumer Products – Garmin Center, March 2015
Invited Speaker: The Changing Mechanics of the Design Business, IDSA International Conference, Austin,
June 2014
Invited Speaker: Design as a Center Of Excellence – Bosch Global Summit May 2014
Keynote Speaker: Visual Perception and the Designer – Purdue University Oct 2013
Invited Participant: The Meaning Of Life – Ignite Talk, ORD Camp, Chicago May 2013
Keynote Speaker: Communicate Or Die – IDSA Midwest District Conference 2012
Keynote Speaker: Designing For International Markets – Stryker Summit, Kalamazoo, June 2012
Invited Speaker: Run Like A Designer – IDSA Southern District Conference, May 2011
Invited Speaker: Reinventing The Wheel - IDSA Midwest District Conference, April 2011
Keynote Speaker: Future Tech trends – IATC Engineering Conference, May 2010
Invited Panelist: The Top i-Gadgets – Consumer Electronics Show, Jan 2010
Invited Participant: Designer Mixtape– IDSA International Conference Aug 2009
Keynote Speaker: Creating A Creative Culture -ID-DNA- IDSA Midwest Conference, March 2009
Invited Speaker: Protecting Brand Equity – PDMA, 2008
Invited Panelist: Developing A Brand Identity To Grow Your Margins -Consumer Electronics Show, Jan
2006
Invited Speaker: Brand Differentiation Through Design Details – International Housewares Show, Jan 2003
Invited Speaker: Design in the USA – USA Forum, Frankfurt Germany, Feb 2000


Professional Honors and Other Achievements:
2022 Graduate Research Fellow, National Science Foundation
2018 Presented the IDSA Fellowship Award.
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2016 was elected onto the board of the IDSA as Director-at-Large.
2015 Called to meeting at The White House by Barack Obama and Secretary of
Commerce Penny Pritzger for Forum on supporting US manufacture.
2014 Founded Design House Inc, a nonprofit organization whose mission is to help
revitalize local manufacture through design.
2013 Elected Chair of IDSA International Conference ‘Breaking The Rules’
2009 Third design professional ever to be awarded the IDSA Midwest Honors for
Outstanding Achievement.
2005-07 Elected to The Board of Directors, Industrial Designer Society of America.
2006 Elected Chair for IDSA Midwest Conference “Home, Urban Seduction & Design”,
Chicago, IL
2005 Elected Chair for IDSA Midwest Conference “Impact -Design Means Business” at
University of Urbana-Champaign, IL.
2005 Founded and ran ‘Fight Club’, which NY Times called “A Designer Slugfest”. It
later became a pilot Reality TV show.
2004 Elected Chair for IDSA Midwest Conference “Shift Happens”, Chicago, IL
2000 Received the “Design of The Decade Award” from Business Week and the IDSA
for TEAMS Design’s achievements.


Awards:
2020
IDEA Jury Chair Award
IDEA Medical Device Gold Award
2011
Appliance Design EID Silver Award : Business Machine – HoMedics Inc. Black &
Decker Hanging Crosscut 6-Sheet Paper Shredder
Appliance Design EID Silver Award: Small Appliances – Robert Bosch Corp., 12" Dual-
Bevel Glide Miter Saw
Appliance Design EID Silver Award: Small Appliances – HoMedics Inc., Black &
Decker iShred
Appliance Design EID Bronze Award: Small Appliances – Jarden Consumer Solutions,
Mr. Coffee Optimal Brew Thermal Coffeemaker
2010
iF Product Design Award: Mr. Coffee Optimal Brew Thermal Coffeemaker
ID Magazine Annual Design Review: Robert Bosch Full Force Pneumatic Nail Guns
Appliance Design EID Award: Federal Signal Automated Parking Products
Appliance Design EID Award: Robert Bosch Full Force Pneumatic Nail Guns
Appliance Design EID Silver Award: Federal Signal Automated Parking Products
Universal One & Universal PS
Appliance Design EID Silver Award: Robert Bosch Full Force Pneumatic Nail Guns
Appliance Design EID Bronze Award: Sunbeam Products Flat Panel Heater
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Appliance Design EID Award: Sunbeam Products Flat Panel Heater
2009
Appliance Design EID Silver Award: Robert Bosch RS35 Reciprocating Saw
Appliance Design EID Silver Award: Argus Camera Company Kid's Cameras Bean
and Sprout
IHA Award: Wusthof-Trident Precision Edge Electric Knife Sharpener
IHA Award: Smith's Edge Diamond Edge Electric Knife and Scissors Sharpener
Good Design Award: Robert Bosch Pneumatic Nailers
Good Design Award: RS35 Demolition Reciprocating Saw
Good Design Award: Precise Path Robotics RG3 Robotic Greens Mower
IDEA Award: Argus Bean Children's Digital Camera
2008
ADEX Award: Mansfield Reo Bathroom Suite
ADEX Award: Mansfield Essence Bathroom Suite
Good Design Award: Argus Camera Kid's Cameras Bean and Sprout
Spark Award Bronze: Precise Path RG3 Mower
2005
Good Design Award: LR Nelson Costco 3 Piece Nozzle Set
2001
iF Product Design Award: Karcher HDS 698 CSX Heated Pressure Washer
2000
Design of the Decade (IDSA /BusinessWeek): Karcher Full Line of Power Washers
I.D. Magazine Design Awards: Siemens Easy Control Climate Control Unit
iF Product Design Award: Siemens Easy Control Climate Control Unit


LIST OF PATENTS (Design patents, utility patents and patents pending).

2021/0076929 2021      Vision Measurement Device and Method of Measuring Vision Using The Same

2020/0069089 2020      Food Product Dispenser and Valve

WO 063584      2019    Vision Measurement Device and Method of Measuring Vision Using the Same

EP3687373      2018    Vision Measurement Device and Method of Measuring Vision Using the Same.

10,470,597     2019    Food Product Dispenser and Valve

10,194,763     2019    Food Product Dispenser and Valve

2019/0006,862 2019 Power pack vending apparatus, system and method of use for charging packs with
              biased locking arrangement

10,084,329     2018 Power pack vending apparatus, system, and method of use for charging power
               packs with biased locking arrangement

D800803        2017    Table Saw
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D794407       2017   Power tool

9,717,354     2017   Food product dispenser and valve

2017/0251846 2017    Food Product Dispenser and Valve

D761337       2016   Saw

DE10 209490   2016   Werkzeugaufbewahrungsvorrichtung (Tool Storage Device)

9,132,559     2015   Cutlery having improved gripping ergonomics

2014/0214,518 2014   System and method for price matching and comparison

D689252       2013   Portion of floor cleaning machine

D686791       2013   Vacuum cleaner handle

D674371       2013   Portable audio device

2012/0159793 2012    Slidable chopping attachment for kitchen knives

D646935       2011   Cutlery block

D645715       2011   Pull saw

D639616       2011   Cutlery handle

D639615       2011   Cutlery handle

D639614       2011   Cutlery handle

JP005278      2011   IV Pole

7,703,750     2010   Storage apparatus

WO 019238     2010   Rotary food cutter with removable blade assembly

2010/0037,787 2010   Rotary food cutter with removable blade assembly

7,708,167     2010   Dispensing Apparatus

D607024       2009   Hinge boring bit

D594292       2009   Pizza cutter

D593817       2009   Box grater

D591118       2009   Bottle opener

D584111       2009   Colander

D583207       2008   Can opener

2008/0093,489 2008   Spice Grinder Assembly with Grind Adjusting Wheel

7,325,785     2008   Storage apparatus

D565164       2008   Volatile Dispenser

D559640       2008   Palm Grip Sander

D555435       2007   Spice grinder
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D550027        2007   Pan handle

D555902        2007   Case for tool accessories

D553857        2007   Case for tool accessories

2007/0023455 2007     Dispensing Apparatus

D553233        2007   Volatile Dispenser

2007/0197152 2007     Powered paint removal tool

7,270,496      2007   Ring Mechanism for a ring binder

D533041        2006   Drilling and driving tool

D523634        2006   Insert bit dispenser

D518893        2006   IV Pole

D525096        2006   Tuck pointer

6,983,930      2006   Clamping device with flexible arm

WO 027702      2005   Dispensing apparatus

CA 2469977     2005   Ring mechanism for a ring binder

2005/0265775 2005     Ring mechanism for a ring binder

6,969,031      2005   Adjustable moveable IV stand

2004/0151,531 2004    Sound deadening mechanism for a ring binder

EP 1,706,010   2004   IV Pole

6,754,935      2004   Power tool handle

EP 1,509,366   2003   Power Tool Handle

2003/0221292 2003     Power tool handle

D470871        2003   Mobile oil dispenser

CA 2488612     2003   Power tool handle

D475595        2003   Circular saw with top handle

D475265        2003   Circular saw with rear handle

D441342        2001   Power station with corded backup
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Appendix B

PRIOR TESTIMONY

The following is a list of all cases I have served as an expert witness and testified either at trial or by
deposition in the last 4 years:

 Year           Case                                Type
 2022           Hangzhou Chic Intelligent           Design Patent Infringement
                Technology Co. and Unicorn
                Global Inc. v. Hangzhou Chic
                Intelligent Technology Co. et
                al. v. The Partnership and
                Unincorporated Associations
                (20-cv-04806)
 2022           Cambria Company LLC v.              Design Patent Infringement
                Lakeside Surfaces Inc

 2020           Shure Inc., and Shure               Design Patent Infringement
                Acquisition Holdings, Inc., v.
                ClearOne, Inc
 2020           Skull Shaver, LLC v.                Design Patent Infringement
                Ideavillage Products
                Corporation
 2020           Cixi City Liyuan Auto Parts Co.     (ITC) Utility Patent Infringement
                Ltd., Tyger Auto, Inc., And
                Hong Kong Car Start Industrial
                Co. Ltd v. Laurmark
                Enterprises, Inc
 2019           Simpson Strong-Tie Company          Design Patent Infringement, Utility Patent
                v. Oz-Post International            Infringement

 2019           Black & Decker Corporation v.       JAMS Arbitration, Design Patent Infringement,
                Harbor Freight Tools                Utility Patent Infringement, Trade Dress
                                                    Infringement
 2019           Focus Products Grp, Int’l &         Trade Dress and Trademark Infringement, Design
                Zahner Design & Hookless            Patent Infringement, Utility Patent Infringement
                Systems & Sure Fit Home v.
                Kartri Sales, Co. & Marqui
                Mills Int’l
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Appendix C

Materials Considered
The following is a list of materials I considered in preparing this Report:

 U.S. Patent D737,723 and its filing history

 U.S. Patent D738,256 and its filing history

 Prior Art cited on the face of each of the above patents.

 U.S. Patent No. D739,906 (filed March 12, 2013; issued September 29, 2015)

 The Accused Products “Gyroor A”, “Gyroor C”, and “Gyroor E”
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 9, 2022, a true and correct copy of the foregoing

document was filed with the Clerk of the Court using CM/ECF which will generate and serve a

Notice of Electronic Filing to all parties to this action.

Dated: November 9, 2022

 PALMERSHEIM & MATHEW LLP                            TARTER KRINSKY & DROGIN LLP

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 Anand C. Mathew                                     Richard J.L. Lomuscio
 Timothy G. Parilla                                  Mark Berkowitz
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